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 DEFENDANT:          ERIC KING

 AGE/YOB:            32/1986

 COMPLAINT           _____ Yes      ___X___ No
 FILED?
                     If Yes, MAGISTRATE CASE NUMBER:

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                     ___ Yes     _X_ No
   If No, a new warrant is required

 OFFENSE(S):         Count 1:
                     18 U.S.C. § 111(a)(1), (b), assault on a federal officer

 LOCATION OF         Fremont County, Colorado
 OFFENSE:

 PENALTY:            Count 1:
                     NMT 20 years’ imprisonment; $250,000 fine, or both; NMT 3 years’
                     supervised release; $100 special assessment

 AGENT:              Amber Cronan
                     Special Agent, FBI

 AUTHORIZED          Aaron M. Teitelbaum
 BY:                 Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:

 X five days or less; ___ over five days

THE GOVERNMENT

 X will seek detention in this case based on 18 U.S.C. § 3142(f)(1)

The statutory presumption of detention is not applicable to this defendant.
